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                           Thism atlerisbeforethe Courton DefendantM atthew Heimbach'sV otion fo Dislhissthe

                 FirstAmçhdedCqmplaintCssecondM otiontoDismiss''),FhiçhHeimbachhadfiledinJùly2019,
                 proceèdingpro se.Dkt.520.

                       On January 26,2018,Heim bach- who was then represented by coùnsel- was among
                       ,




                 thosedefeqdantswhomovqdtodismissPlaintiffs'claims(çTirstMotiontoDismiss'')inthe'
                                                                                                First
                 Amended Complaint.'Dtt.205,206;seeJkt?Dkt.201-09,212-13.ThatwastheCourt-ordered
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                 deadlinefurtherstipulased tobytheparties,to llleam otion to dismijsto Plaintiffs'FirstAmended
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                 Dismissand otherthen-pepding motionsto dismissin substantialpart.bld.335-36.The Court
                 considered Plaintiffs'allegationsagainstHeimbachandruledthatPlaintiffsiç
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                 ihatHeim'bailihadûjoinedtheconspiracytocpmmitracialviolence.i
                                                                             'Dkt.335at35.Thecoul4                   .




                 ftirthèrruledthattttheFirktAmendmentdoesno
                                                          'tpreventtheimpositionofliabilityfortheactsof
                 vi:lenceallegedhere'.''Id.Plaintiffs'casejroceeded againstHeimbachandtheotherdefendailts.
                 Thereaher,while he was stillrepresented by counsel,HeiMbach answered the FirstAm ended

                 Complaint.Dkt.343.
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                      Plaintiffsrecountin thelropposition briefthatHeimbachsredhisattorneysandfailedto
    participate in discovery orforthe flrsthalfof2019.Dkt.521at7-8,Only then- approximately

    18 p onths after the deadline to file any m otion to dismiss the First Am ended Complaint-
    Heim bach tlled his Second M otion to Dism iss.Dld.520.Heim bach hasraised argumentsin his'

    Second M otion to Dismiss thàtthe Courtalready ruled in its July 2018 mem orandllm opinion.

      imbach argped thattheFirstApem-dçd cp-rp.p.l>-
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    to state a plausible claim to relief,and thathisactionswere protected by the FirstAl endment.
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    See,e.g.,Dkt.520 at1,4,12.

                      Becausethe
                               'Courthassince afforded Plaintiffsleaveto am end theircomplaintandto fle

    theoperativeSecondAmendedComplaint(Dkt.557),theCourtwillDENY usmootHeimbach's
    untimely SecondM otion to DismisstheFirstAmended Complaint(Dkt.520),withoutprqudice.
    Plaintiffs'requestforattom eys'feesspeciscally forresponding toHeim bàch'sSecond M otion to

    DismisswillbeDENIED,withoutprejudicetoanyotherrequestforfeesorsanctionsarisingfrom
    Heimbach'slitigation çonductbesidesfilingthe Second M otion to Dismiss.

                      Itis so O RD ER ED .

                      TheolerkoftheCourtisdirectedtosendacertifed copyofthisOrdertptheparties.
                      Bntered this 19th day ofM arch,2020.

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                                                                    AT CHARLOU ESVILLE,VA
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                            UM TED STATES DISTRICT COURT                        JULIA C.DUDLEY,CLERK
                        FOR THE W ESTERN DISTRICT OF W RGINIA
                                                                                BY:/s/J.JONES
                                  Charlottesville D ivision                        DEPUTY CLERK


   ELIZABETH SlxEssSETH w lspsLw Ey,
   MAltlssA BLAIR.XPRJL MtrN1
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   MARcusMARTlk.NATALIERöMERO,
   CHELSEA Atzvxu oo,JoHx DoE,and
   TH OM A S BA KER,

                                Plaintiffs,            CivilAction No.3:17-cv-00072-N1fM

   V.                                                      JURY TR IA L D EM A ND ED
   JA SON KESSLER,eta1.,

                                Defendants.


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                                  KLINE A/K /A ELIM OSLEY

           W HEREAS,on M azch 13,2020,Plaintiffsfled a Supplem entalBriefin FurtherSupport

   oftheirM otion forEvidentiary SanctionsAgainstDefendantElliottKlinea/k/aEliM osley (the
   SssupplementalBrief'),ECF No.679,anddidnotpubliclytsleExhibitsA,B,C,D,E,F,G,H,1,
   J,and K to the SupplementalBriefand portionsof the SupplementalBriefbecause they were

   designated as-H'
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   lnfonnation as defined by the Order for the Production of Documents and ExchM ge of

   ConfidentialInfonnation dated January 3,2018,ECF No.167,

            W HEREAS,Plaintiffshaveprovided uc edacted copies ofExhibitsA,B,C,D,E,F,G,

   H,1,J,and K and the Supplem entalBriefto the Cotu'tand m oved,pursuantto LocalRule 9,for

   those exhibits and portions ofthe Supplem entalBriefto be sealed,
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          IT IS HEM BY ORDERED thatthe M otion to Seal,ECF No.680,isGM NTED,and

   ExhibitsA,B,C,D,E,F,G,H,1,J,qnd K to the Supplem entalBrief,ECF No.679,and the

   redacted portionsofthe SupplementalBriefare hereby sealed pursuantto LocalRule 9.

   Dated:M arch 16,2020



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